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                                                                     FILED IN THE
                                                                 U.S. DISTRICT COURT
                                                           EASTERN DISTRICT OF WASHINGTON



                                                           May 19, 2021
                                                                SEAN F. MCAVOY, CLERK




5/19/2021
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